                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
vs.                                         )       Case No. 12-00063-01-CR-W-GAF
                                            )
TIMOTHY L. KIRLIN,                          )
                                            )
                      Defendant.            )

                                            ORDER

       Now pending before the Court is Defendant’s Motion to Suppress Evidence and

Statements (Doc. #212). Defendant moves the Court to suppress all evidence and testimony

recovered from a January 4, 2010 search of his residence.

       On December 11, 2012, United States Magistrate Judge Robert E. Larsen conducted an

evidentiary hearing on the motion to suppress.

       On March 6, 2013, Judge Larsen issued his Report and Recommendation (Doc. #244).

On March 19, 2013, Defendant's Objections to the Report and Recommendation of United

States Magistrate (Doc. #250) were filed.

       Upon careful and independent review of the pending motion, defendant’s objections to

the Magistrate's Report and Recommendation, as well as the applicable law, this Court hereby

adopts and incorporates as its own Opinion and Order the Report and Recommendation of

United States Magistrate Judge Robert E. Larsen.




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     Accordingly, it is hereby ORDERED that Defendant's Motion to Suppress Evidence

(Doc. #212) is OVERRULED and DENIED.

     SO ORDERED.

                                              s/ Gary A. Fenner
                                              GARY A. FENNER, JUDGE
                                              UNITED STATES DISTRICT COURT

DATED: March 21, 2013




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